         Case 1:20-cv-01365-JMC Document 36 Filed 07/28/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 David O’Connell, individually and on behalf
 of all others similarly situated,
                                                     Case No. 1:20-cv-01365-JMC
                    Plaintiff,
                                                     Class Action
 vs.

 United States Conference of Catholic
 Bishops,

                   Defendant.


                     Plaintiff’s Unopposed Motion for Status Conference

       This case was initially filed on January 22, 2020 in the United States District Court for

the District of Rhode Island. It was transferred to this Court on May 21, 2020. Dkt. 11.

       On July 6, 2020, Defendants filed their Answer. Dkt. 20. A few days later, on July 9,

2020, the district court entered a scheduling order. Dkt. 21.

       The very next day—July 10, 2020—Defendant filed a motion for judgment on the

pleadings. Dkt. 22. The Court took the scheduling conference off the calendar, the parties

briefed the motion, and a hearing was held on January 28, 2021. Dkt. 28.

       Before a decision was issued, then-district judge Jackson was elevated to the U.S. Court

of Appeals for the D.C. Circuit and later to the U.S. Supreme Court. The case was re-assigned to

Your Honor on November 15, 2021.

       Plaintiff recently retained a second law firm, Dovel & Luner, to assist in prosecuting this

case. On July 18, 2022, Simon Franzini and Jonas Jacobson of Dovel & Luner filed notices of

appearance. Dkt. 34, 35.

       Plaintiff would welcome the opportunity to have a brief status conference to discuss the

                                                 1
          Case 1:20-cv-01365-JMC Document 36 Filed 07/28/22 Page 2 of 2




status of the case. Accordingly, Plaintiff respectfully requests the Court to hold a brief status

conference via Zoom.

       Counsel for Plaintiff and counsel for Defendant conferred by telephone on July 7, 2022

and by follow up email exchanges. The motion is unopposed.



Dated: July 28, 2022                          Respectfully submitted,


                                              By: /s/ Simon Franzini

                                              Simon Franzini (Cal. Bar No. 287631)*
                                              simon@dovel.com
                                              Jonas Jacobson (Cal. Bar No. 269912)*
                                              jonas@dovel.com
                                              DOVEL & LUNER, LLP
                                              201 Santa Monica Blvd., Suite 600
                                              Santa Monica, California 90401
                                              Telephone: (310) 656-7066
                                              Facsimile: (310) 656-7069

                                              Martin Woodward (admitted pro hac vice)
                                              Texas Bar No. 00797693
                                              martin@kitnerwoodward.com
                                              KITNER WOODWARD PLLC
                                              13101 Preston Road, Suite 110
                                              Dallas, Texas 75240
                                              Telephone: (214) 443-4300
                                              Facsimile: (214) 443-4304

                                              Counsel for Plaintiff and the Proposed Class




                                                  2
